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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA,                     )
                                              )
                                              )       Criminal No. 2:19-CR-00197
        v.                                    )
                                              )       Section “D”
                                              )       Judge Wendy B. Vitter
KHALID AHMED SATARY,                          )
                                              )       Magistrate (4)
                Defendant.                    )       Magistrate Judge Roby


      SUPPLEMENTAL MEMORANDUM IN SUPPORT OF KHALID SATARY’S
             MOTION TO SUPPRESS (DOC. 199) AND THE LABS’
            MOTION FOR THE RETURN OF PROPERTY (DOC. 201)

        Defendant Khalid Satary and Third-Parties Alpha Medical Consulting, Inc., Clio

Laboratories, LLC, Elite Medical Laboratories, Inc., GNOS Medical Inc., Lazarus Services, LLC,

Performance Laboratories, LLC (“the Labs”) submit this memorandum of law in support of their

respective motions to suppress (Doc. 199) and to return property (Doc. 201).

        As argued in those motions, the Government violated the Fourth Amendment and the

Federal Rules of Criminal Procedure by seizing electronic materials and failing to conduct a

second-step analysis to cull materials to those within the scope of the warrants. The Government

then distributed, and continues to distribute, these documents to others without having conducted

this limiting analysis.

        The Government has now admitted that it has seized and retained documents outside the

scope of the warrants. In United States v. Trotta, No. 21-cr-60260 (S.D. Fla.), the Government

recently told Satary and the Labs that it would produce their materials to the defendant—but only

those documents that were taken within the scope of the search warrants. Specifically, the

Government stated it would not produce to the defendant an unspecified number of “documents



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that were outside the date range of the as-applicable search warrants.” (Exhibit A.) Attached as

Exhibit A to this memorandum is a true and accurate copy of the Government email dated April

8, 2022 to counsel for Satary and counsel for the Labs.

       More recently, in the Filter Team’s opposition brief to the appeal of and objection to Chief

Magistrate Judge Roby’s March 23, 2022 Order (filed April 20, 2022 under seal), the Filter Team

made the following statement concerning another matter, United States v. Fluitt, 3:20-cr-00196-

TAD-KDM (W.D. La.).

               In the related Fluitt criminal matter, Magistrate Judge McClusky on
               March 4, 2022 entered an order granting a Rule 502(d) release to
               Defendant in that matter of all within-date-scope documents listed
               on Defendant Satary’s and the Labs’ logs. (bolded emphasis added)

       The Filter Team adds this “within-date-scope” limitation, affecting an unspecified number

of documents, that does not exist in the initial order. Fluitt seeks the production of all of Satary’s

and the Lab’s privileged material—without limitation—in addition to all of their non-privileged

materials already produced to him.1 And the magistrate judge granted Fluitt’s request. An appeal

of this March 4, 2022 Order is pending. But this marks the second time in the last few weeks

where the Government has mentioned that it possesses documents taken outside the date scope of

the search warrants.




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  The Fluitt case further highlights the cart-before-the-horse approach the Government has taken
with respect to seizing materials and distributing them without ever conducting a second-step
analysis to determine whether the materials taken were even within the scope of the search
warrants.
        Satary and the Labs requested that any such production be stayed until the pending
suppression and Rule 41(g) motions are resolved by this Court. The Magistrate Judge was “not
unsympathetic” to that request, but denied a stay given the closeness to the then-impending Fluitt
trial date (which has since been continued until October 2022). (Fluitt Dkt. No. 79 at 11-12.)
Satary and the Labs have appealed this order, and a request for a stay is pending before the District
Judge. (Fluitt Dkt. No. 81.)
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       While Satary and the Labs have been arguing for years that the Government exceeded the

scope of the search warrants, these are the first times the Government itself has admitted so. It is

troubling that the Government finally realizes it has seized materials outside the scope of search

warrants, yet has not notified this Court when there are pending motions specifically challenging

the Government’s improper seizure and retention of Satary’s and the Labs’ materials.

       Satary and the Labs request that this Court compel the Government to identify any of their

materials that the Government acknowledges it has taken and retained outside the scope of the

search warrants. The Government has no authority to possess or distribute materials that it knows

was taken outside the scope of the warrants. Such materials should be returned to Satary and the

Labs. Moreover, the Government should clawback these illegally seized materials from any third

parties to whom the Government has already distributed them.

       This, unfortunately, is another troubling example of how the Government has mishandled

Satary’s and the Labs’ materials in this matter. There are other unresolved questions regarding the

execution of the search warrants, specifically with respect to protecting privileged documents. It

is unclear how the Prosecution Team chose to select and categorize the specific subset of privileged

documents at issue in its crime-fraud motion. Allegedly this was based solely on the information

provided in the privilege logs, but some knowledge of the content of the privileged materials

themselves is evident. It appears that the Prosecution Team had access to privileged information.

(See Doc. 236 at pp. 3–7.)

       The Prosecution Team denies this, stating that it did not “intimidate[] witnesses in order to

induce an attorney to breach the ethical obligations owed to his or her own clients.” (Doc. 243 at

3.) But that is a very specific and narrow denial. It notably is not a denial that the Prosecution

Team received information about the contents of privileged material—it only denies that the



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Government “intimidated” an “attorney.” The Government does not deny that Victoria Nemerson,

former counsel to Satary and the Labs, may have voluntarily disclosed privileged information to

the Government (for example, to avoid prosecution against herself and her son). Nor does it

foreclose the possibility that the Prosecution Team received this information from a non-attorney.

       Given this new admission by the Government, and in light of the outstanding issues, Satary

and the Labs respectfully submit that a hearing is appropriate to examine how the Government has

handled their materials since taking them in September 2019.



                                                    Respectfully submitted,

                                                    /s/ Richard W. Westling
                                                    Richard W. Westling (#20027)
                                                    Epstein, Becker & Green, PC
                                                    1227 25th Street, NW, Suite 700
                                                    Washington, DC 20037
                                                    Tel: 202-861-1868
                                                    Fax: 202-861-3504
                                                    rwestling@egblaw.com
                                                    Local Counsel for Alpha Medical
                                                    Consulting, Inc., Clio Laboratories, LLC,
                                                    Elite Medical Laboratories, Inc.,
                                                    Performance Laboratories LLC, Lazarus
                                                    Services, LLC, and GNOS Medical Inc.

                                                    /s/ Melissa L. Jampol
                                                    Melissa L. Jampol
                                                    Jeffrey P. Mongiello
                                                    Epstein, Becker & Green, PC
                                                    875 Third Avenue
                                                    New York, NY 10022
                                                    Tel: 212-351-4500
                                                    mjampol@ebglaw.com
                                                    Counsel for Third Parties
                                                    Alpha Medical Consulting, Inc.,
                                                    Clio Laboratories, LLC, Elite Medical
                                                    Laboratories, Inc., Performance
                                                    Laboratories LLC, Lazarus Services, LLC,
                                                    and GNOS Medical Inc.

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                                        /s/ Scott R. Grubman
                                        Scott R. Grubman
                                        Ga. Bar No. 317011
                                        Chilivis Grubman Dalbey & Warner LLP
                                        1834 Independence Square
                                        Atlanta GA 30338
                                        Telephone: (404) 233-4171
                                        sgrubman@cglawfirm.com
                                        Trial Attorney for Defendant
                                        Khalid Ahmed Satary

                                        /s/Samuel H. Winston
                                        Samuel H. Winston (#34821)
                                        Evan J. Bergeron (#33725)
                                        Jeigh L. Britton (#39820)
                                        Winston Bergeron, LLP
                                        1700 Josephine Street
                                        New Orleans, Louisiana 70113
                                        Telephone: 504-577-2500
                                        Facsimile: 504-577-2562
                                        sam@winstonbergeron.com
                                        evan@winstonbergeron.com
                                        jeigh@winstonbergeron.com
                                        Local Counsel for Defendant
                                        Khalid Ahmed Satary
Dated: May 6, 2022




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                                 CERTIFICATE OF SERVICE

         I certify that on May 6, 2022, I electronically filed the foregoing pleading with the Clerk

of the Court using the CM/ECF system, which will send a copy of the pleading to all parties via

email.



                                                              /s/ Richard W. Westling




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